                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
                                           at GREENEVILLE

    THOMAS G. WILLIAMS,                               )
                                                      )
                   Petitioner,                        )
                                                      )
    v.                                                )        Nos.: 2:11-cv-276; 2:09-cr-54(2)
                                                      )        Judge Greer
                                                      )
    UNITED STATES OF AMERICA,                         )
                                                      )
                   Respondent.                        )


                                        MEMORANDUM OPINION


           Acting pro se, federal inmate Thomas G. Williams (“petitioner” or “Williams”) has filed a

    motion to vacate, set aside, or correct a sentence under 28 U.S.C. § 2255 and a supplemental §

    2255 motion, [Docs. 761 and 798].1 Petitioner pled guilty to and was convicted of conducting a

    racketeering enterprise, in violation of 18 U.S.C. § 1962. For this offense, Williams received a 96-

    month term of imprisonment. In his motions, petitioner offers claims of ineffective assistance of

    counsel, abuse of discretion on the part of this Court, sentencing disparities, and prosecutorial

    misconduct, as grounds for relief. The United States has filed a response in opposition to the

    motions, [Doc. 850]. The Court has determined that the files and records of the case conclusively

    establish that Williams is not entitled to relief under § 2255 and that, therefore, no evidentiary

    hearing is necessary.     For the reasons which follow, petitioner’s § 2255 motions will be

    DENIED.




1
 The racketeering offense alleged in Count 1 against Williams and three co-defendants involved the operation of a
chop shop, altering ID numbers on motor vehicles and motor vehicle parts and trafficking in those vehicles and
vehicular parts, defrauding insurance companies with claims involving purportedly stolen vehicles, and unlawfully
distributing controlled substances, [Doc. 3].



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I.        Procedural Background
           Williams was charged, along with twenty-two co-defendants, in a thirty-six count

    indictment returned by the federal grand jury on June 9, 2009, [Doc. 3]. Twenty-four of those

    counts (i.e., 1, 2, 3, 4, 5, 10-11, 15-16, 18-24, and 28-35), alleged that Williams engaged in

    racketeering, operated a chop shop, trafficked in motor vehicle parts with altered vehicle

    identification numbers, and conspired to distribute cocaine and marijuana, stolen vehicle

    property, and mail fraud.

           On March 3, 2010, Williams pled guilty [Doc. 358], pursuant to a plea agreement with

    the government, to Count 1 of the indictment, which charged him with the racketeering offense,

    [Doc. 342].2 In the plea agreement, petitioner agreed to waive his right to file a direct appeal

    except for “a sentence imposed above the sentencing guideline range or any applicable

    mandatory minimum sentence (whichever is greater)” and likewise to waive his right “to file any

    motions or pleadings pursuant to 28 U.S.C. § 2255” except for “claims of ineffective assistance

    of counsel and prosecutorial misconduct not known to [petitioner] at the time of entry of

    judgment,” [Id. at 17].

             A presentence investigation report (hereinafter “PSR”) was prepared. Using the 2009

    version of the United States Sentencing Commission Guidelines Manual, the probation officer

    calculated a base offense level of 8 for the chop-shop conspiracy, with a 16-level increase based

    on the amount of loss (more than $1,000,000 but less than $2,500,000) and another 4-level

    increase for petitioner’s leadership role in the offense, see USSG § 3B1.1(a). The resulting

    adjusted offense level was 28.3

2
   The racketeering offense alleged in Count 1 against Williams and three co-defendants involved the operation of a
chop shop, altering ID numbers on motor vehicles and motor vehicle parts and trafficking in those vehicles and
vehicular parts, defrauding insurance companies with claims involving purportedly stolen vehicles, and unlawfully
distributing controlled substances, [Doc. 3].
3
    Under USSG § 1B1.2(d), where the offense of conviction is a conspiracy to commit more than one offense, the

                                                          2

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          The base level offense for the conspiracy to distribute cocaine and marijuana, given that

 the lowest amount of cocaine was pegged at 500 grams and the lowest quantity of marijuana at

 2.5 kilograms, was calculated to be 26. The adjusted offense level remained 26, since there were

 no applicable adjustments. After increasing by two units the greater of the adjusted offense levels

 (28 for the chop-shop is > 26 for the drug conspiracy), the probation officer found the combined

 adjusted offense level to be 30, (28 + 2 = 30). However, deducting three levels for acceptance of

 responsibility, pursuant to USSG § 3E1.1(a) and (b), resulted in a total offense level of 27. An

 assessment of nine criminal history points established a criminal history category of IV. A

 criminal history category of IV and a total offense level of 27 resulted in a guidelines range of

 100-125 months’ imprisonment.               Restitution, which was required by statute and by the

 guidelines, see 18 U.S.C. § 3663A(a)(1); USSG § 5E1.1(a)(1), was calculated to be $919,335.34.

          The government filed a motion for downward departure, under USSG § 5K1.1, based on

 petitioner’s substantial assistance, [Doc. 550]. On January 25, 2011, the Court granted the

 motion for downward departure, departed downward two levels, and sentenced Williams to 96

 months of imprisonment—the middle of his new guidelines sentencing range (84-105 months)—

 as recommended by the government, [Doc. 849, Sent. Tr. at 36-37]. Pursuant to the terms of the

 plea agreement, the remaining counts in the indictment were dismissed at sentencing. Judgment

 was entered on February 16, 2011, imposing a sentence of 96 months imprisonment, to be

 followed by three years of supervised release, [Doc. 728]. No direct appeal was filed and

 petitioner timely filed this § 2255 motion on September 26, 2011.

          II.    Standard of Review



conviction is treated as though a defendant was convicted of a separate count of conspiracy for each offense. In this
case, petitioner’s conviction for Conducting a Racketeering Enterprise encompassed the illegal activity of operation of
a chop shop and distribution of controlled substances.


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       Title 28 United States Code section 2255(a) provides that a federal prisoner may make a

motion to vacate, set aside, or correct his judgment of conviction and sentence on the ground that

the sentence was imposed in violation of the Constitution or laws of the United States, that the

court lacked jurisdiction to impose the sentence, or that the sentence is in excess of the maximum

authorized by law, or is otherwise subject to collateral attack. As a threshold standard, to obtain

post-conviction relief under § 2255 a motion must allege: (1) an error of constitutional

magnitude; (2) a sentence imposed outside the federal statutory limits; or (3) an error of fact or

law so fundamental as to render the entire criminal proceeding invalid. Mallett v. United States,

334 F.3d 491, 496-97 (6th Cir. 2003); Moss v. United States, 323 F.3d 445, 454 (6th Cir. 2003).

       Petitioner bears the burden of demonstrating an error of constitutional magnitude which

had a substantial and injurious effect or influence on the criminal proceedings. Reed v. Farley,

512 U.S. 339, 353 (1994); Brecht v. Abrahamson, 507 U.S. 619, 637-38 (1993). In order to

obtain collateral relief under § 2255, a petitioner must clear a significantly higher hurdle than

would exist on direct appeal. United States v. Frady, 456 U.S. 152 (1982).

       Under Rule 8 of the Rules Governing Section 2255 Proceedings in the United States

District Courts, a court is to determine, after a review of the answer and the records of the case,

whether an evidentiary hearing is required. If the motion to vacate, the answer, and the records of

the case show conclusively that the petitioner is not entitled to relief under § 2255, there is no

need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir. 1986). The

Court FINDS no need for an evidentiary hearing in the instant case.

       III.   Factual Background

       At the time of his guilty plea, Williams stipulated to the following facts, taken from the

plea agreement filed in this case:

              The Racketeering Enterprise
                                                4

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                  At various times relevant to the Indictment, Raymond Eddie
           Hawk, Thomas Grant Williams, James Alfred Sisk, Eric Scott
           Williams, and others known and unknown, including H-1 Auto, later
           known as A Automotive, an automobile recycling and salvage
           business located in Newport, Tennessee, were members and
           associates of an enterprise (hereinafter the “Hawk Organization”)
           where members and associates engaged in illegal activity, to include
           operation of a chop shop, altering identification numbers on motor
           vehicles and motor vehicle parts, trafficking in motor vehicles and
           motor vehicle parts with altered identification numbers, devising and
           executing schemes to defraud insurance companies involving claims
           for purportedly stolen vehicles, and unlawfully distributing controlled
           substances, and which operated principally in Cocke County,
           Tennessee, in the Eastern District of Tennessee.

                   The Hawk Organization, including its leadership, members,
           and associates, constituted an “enterprise,” as defined by Title 18,
           United States Code, Section 1961(4) (hereafter “enterprise”), that is,
           a group of individuals associated in fact. The enterprise constituted
           an ongoing organization whose members functioned as a continuing
           unit for a common purpose of achieving the objectives of the
           enterprise. This enterprise was engaged in, and its activities affected,
           interstate and foreign commerce.

                   The purposes of the enterprise included: enriching the
           members and associates of the enterprise through, among other
           things, the operation of a chop shop, transporting stolen motor
           vehicles across state lines and receiving such stolen vehicles,
           transporting stolen property across state lines and receiving such
           stolen property, altering identification numbers on motor vehicles and
           motor vehicle parts, trafficking in motor vehicles and motor vehicle
           parts with altered identification numbers, devising and executing
           schemes to defraud insurance companies involving claims for
           purportedly stolen vehicles, and unlawfully distributing controlled
           substances.

                   In general, the Hawk Organization was a coalition of persons
           involved in the operation of a chop shop and motor vehicle thefts and
           related activities acting under the direction of Raymond Hawk and
           Grant Williams. Hawk and Grant Williams would obtain salvage
           motor vehicles from salvage dealers, usually late model pickup trucks
           and sport utility vehicles (SUVs), and then direct others to steal or
           participate in stealing vehicles matching the salvage vehicles. Eric
           Williams, brother of Grant Williams, and James Sisk generally acted
           under the direction of Hawk and Grant Williams.

                  Among the means and methods by which Hawk, Grant
           Williams, James Sisk, Eric Williams, and their associates conducted
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           and participated in the conduct of the affairs of the enterprise were
           the following:

           a. Members of the enterprise and their associates would steal motor
           vehicles; disassemble the stolen motor vehicles; alter, obliterate and
           tamper with identification numbers on the stolen motor vehicles and
           motor vehicle parts; construct motor vehicles from parts of stolen
           motor vehicles bearing altered or obliterated identification numbers;
           and sell and dispose of motor vehicles and motor vehicle parts
           bearing altered identification numbers.

           b. Members of the enterprise and their associates would devise
           schemes to defraud insurance companies on claims for thefts of
           motor vehicles by arranging with the owners of motor vehicles to
           take the motor vehicle with the owner then filing a false claim for the
           theft of the motor vehicle and the members of the enterprise receiving
           the purportedly stolen motor vehicle to dispose of as described in
           subparagraph (a) above.

           c. Members of the enterprise and their associates would distribute and
           conspire to unlawfully distribute controlled substances, to include
           cocaine and marijuana.

           d. Members of the enterprise and their associates promoted a climate
           of fear through violence and threats of violence.

           e. Members of the enterprise and their associates used persons within
           the local law enforcement community to aid in the concealment of
           the enterprise’s operation and to protect the enterprise’s criminal
           operations.

           Operation of the Chop Shop and VIN Altering

                   As noted above, Ray Hawk operated an auto salvage business
           under the name H-1 Auto Parts at 120 Willis Road, Newport,
           Tennessee until sometime in late 2004. The business was engaged in
           the sale of used automobiles and automobile parts. Hawk briefly sold
           the business around 2004-2005 but resumed operations under the
           name A Automotive and with his daughter Robecca Nicole Hawk as
           the reported owner of the business in late 2007. H-1 Auto, and later A
           Automotive, sold used auto parts throughout the United States both
           through Car-Part.com, an Internet used auto parts locator and sales
           service operating from Fort Wright, Kentucky, and later through its
           own Internet web-site, www.AAutoTN.com (hosted by Car-
           Part.com). Legitimate auto salvage businesses obtain salvage
           automobiles through salvage wholesalers who usually obtain them
           from insurance companies. The auto salvage and used parts


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           businesses will then disassemble the automobile to obtain any parts
           which may be resold.

                   In addition to the sale of legitimate salvage vehicles and parts,
           H-1/ A Automotive was also a “chop shop,” that is, Hawk, with the
           assistance of Grant Williams, James Sisk, Eric Williams, Curtis
           Reed, Doyle Maloy, Nicole Hawk, Darrell Burgin, Denise Brown,
           and others, would obtain stolen motor vehicles, usually late model
           pickup trucks and sport utility vehicles, and dismantle the stolen
           vehicles at the Willis Road location and other locations.

                   Parts bearing vehicle identification numbers (VINs), such as
           engines, transmissions, and doors, would have the VINs altered or
           obliterated to prevent identifying the parts as having come from a
           stolen vehicle. The stolen parts with altered VINs would then be sold
           in interstate commerce through H-1/A Automotive. Other stolen parts
           would be used to construct vehicles bearing the public VINs of a
           salvage vehicle, a practice known as a “salvage switch” or “VIN
           swap.” These vehicles bearing the altered VINs would then be sold.

           RICO Predicate Act Two - Obstruction of Justice

                   On December 15, 2003, a Tennessee Highway Patrol (THP)
           Criminal Investigation Division (CID) special agent, who was
           assisting the Federal Bureau of Investigation (FBI) in an ongoing
           investigation in Cocke County, along with a Cocke County Sheriff’s
           Office (CCSO) detective and another local detective received
           information from a Newport Police Department officer that a
           possibly stolen vehicle was parked at Shoemaker’s Florist there in
           Newport. The officers located the vehicle and observed that the
           public VIN plate appeared to have been tampered with. Grant
           Williams approached the officers and eventually promised to take the
           vehicle to the CCSO for inspection. When Williams did not appear at
           the CCSO as promised, the officers returned to Shoemaker’s Florist.
           Grant Williams then told the officers that he would not permit them
           to inspect the vehicle without a search warrant. Williams’ father,
           Newport Police Department Captain Milburn Williams, arrived,
           spoke briefly to Grant Williams, and then told the officers they were
           not going to look at the truck without a warrant and to leave. The
           THP agent told Captain Williams that they would obtain a search
           warrant and return, but would have to leave an officer there to secure
           the vehicle. Captain Williams told them that would not be necessary
           and that he would personally assure the officers that the vehicle
           would be there when the officers returned. Captain Williams then
           again asked the officers to leave. The officers obtained a state search
           warrant. When they returned to Shoemaker’s Florist, the gate was
           locked and the vehicle was gone. The officers returned to the CCSO.
           Captain Williams came to the CCSO a short time later. He was told
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           that the officers had obtained a warrant but the vehicle was gone.
           Captain Williams said, "I was afraid that would happen" and then
           went on to say "I figured something was wrong with it." Captain
           Williams was urged to contact his son to bring the vehicle in. After
           talking to his son, Captain Williams agreed to take the officers to
           Grant Williams’ residence at 363 New Cave Church Road in
           Newport. When the officers arrived, Grant Williams met them
           outside. Grant Williams told the officers that the vehicle was not
           there and that he had loaned it to a friend to take bear hunting. When
           the officers asked who the friend was, Grant Williams said he would
           not give the officers the friend’s name. Captain Williams then told
           the officers to leave. The vehicle was never recovered.

           RICO Predicate Act Three - Interstate Transportation of Stolen
           Motor Vehicle and

           Possession of Motor Vehicle Parts with Altered Identification
           Numbers

                   On February 11, 2004, a CCSO detective received
           information that an individual had arranged for his truck to be stolen
           from a shopping center parking lot in Newport, Tennessee, as part of
           an insurance fraud scheme. The detective located the truck, a 1999
           Chevrolet Z-71 four-wheel drive extended cab pickup truck, and
           observed that a single key was in the ignition. The detective began
           watching the truck. Eric Williams was dropped off by Doyle Maloy
           in another truck beside the truck to be stolen. Eric Williams entered
           the truck and drove off with Maloy following in the other truck. The
           detective followed the two vehicles until he observed them turn up
           the driveway to the residence and garage of Ray Hawk at 1318
           Cactus Way, Newport, Tennessee. A short while later, Eric Williams
           and Maloy left the residence in the other truck, indicating the “stolen”
           truck was still at the residence.

                   After contacting the owner of the “stolen” truck and being
           advised the truck was purportedly stolen, officers obtained a state
           search warrant for 1318 Cactus Way. In a garage at the residence,
           officers located parts from a 1994 Ford F-350 truck with a flat bed
           which had been stolen from Power Equipment Company, Kingsport,
           Tennessee on February 6, 2004. The steering column on the F-350
           had been “peeled” with the ignition lock removed and a pair of
           locking pliers was on the column to be used to start the truck.
           Officers also located parts, to include a dash panel with the VIN plate
           removed, a wiring harness, and a tail gate which were identified as
           having come from a 2003 Chevrolet Avalanche truck, VIN
           3GNEK13T83G158153, which had been stolen in Asheville, North
           Carolina on December 22, 2003 by Grant and Eric Williams. The
           parts had already had markings put on them apparently for the parts
                                              8

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           to be placed in inventory at H-1 Auto. Officers subsequently found
           the public VIN plate for the Avalanche in a bedroom at 1318 Cactus
           Way.

           RICO Predicate Act Four; Count 4 - Interstate Transportation of
           Stolen Motor Vehicle and Arson

                   On the evening of May 12, 2005, a U.S. Forest Service
           (USFS) law enforcement officer (LEO) was requested by the USFS
           to respond to a woods fire set in Haywood County, North Carolina in
           the remote Harmen Den/Brown Gap area of the Pisgah National
           Forest. Investigation revealed the fire began as the result of a stolen
           vehicle being abandoned and set on fire on a pull off road just
           adjacent to the National Forest roadway. The vehicle that had been
           set on fire was determined to be a Chevrolet SUV, green in color.
           The hood was missing from the truck but no other parts appeared to
           be missing. The vehicle was burned beyond repair. With the
           assistance of the North Carolina Division of Motor Vehicle
           Enforcement, the vehicle was identified as a 1997 Chevrolet
           Suburban was stolen on the evening of September 7, 2004 from
           Knoxville Center Mall. Further investigation determined that Grant
           Williams and others had stolen the vehicle and had transported it to
           the National Forest where it had been set on fire.

           RICO Predicate Act Five - Possession of Motor Vehicle Parts
           Bearing Altered Identification Numbers With Intent to Sell or
           Dispose

                   On June 15, 2005, a federal search warrant was executed at
           the residence of Grant Williams at 363 New Cave Church Road,
           Newport, Tennessee. Evidence recovered included two-way radios,
           binoculars, several license plates, auto burglary tools, car parts
           consistent with the operation of a “chop shop,” a GMC V8 Vortec
           engine with the serial number ground off, a Haulmark 5' x 10" trailer
           from which the serial number had been removed, and a Homelite
           generator from which the serial number had been removed. A
           quantity of illegal drugs was also recovered. FBI agents observed a
           jacket in a closet which was one of the items from purportedly stolen
           merchandise which had been delivered by an FBI undercover agent to
           CCSO Deputy Joe Dodgin and Chief Deputy Pat Taylor in May
           2005.

           RICO Predicate Act Seven - Possession of Motor Vehicle Parts
           Bearing Altered Identification Numbers With Intent to Sell or
           Dispose

                  On April 25, 2007, FBI special agents, assisted by THP-CID
           agents, executed a federal search warrant at the residence of Grant
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          Williams at 363 New Cave Church Road, Newport, Tennessee.
          Agents recovered two automobile transmissions and a transfer case
          from which the identification numbers had been altered, obliterated,
          or removed. Agents also observed a white GMC truck bearing the
          public VIN (on the dashboard) of 2GTEK13T541345921 in
          Williams’ garage. The truck could not be positively identified at that
          time as having been stolen, having altered identification numbers, or
          otherwise constituting contraband or evidence of a crime. However, a
          THP-CID agent did record identifying information from a motor
          vehicle part on the truck during the authorized search.

                  After consulting with the National Insurance Crime Bureau
          (NICB), the THP-CID agent determined that the motor vehicle part
          which he had examined had originally been installed on a white 2004
          GMC Sierra pickup truck which had been stolen in Knoxville,
          Tennessee on the afternoon of February 13, 2007 from Knoxville
          Center Mall. The vehicle was subsequently seized and a more
          comprehensive inspection of the truck revealed that identification
          numbers on the frame rails of the truck had been altered, obliterated,
          and tampered with. The public VIN which appeared on the seized
          truck was for a salvage 2004 GMC Sierra truck which Grant
          Williams had purchased from a Kentucky salvage dealer in February
          2007. The Kentucky salvage dealer also applied for a “rebuilt” title in
          Kentucky for Grant Williams which allowed Williams to later apply
          for a Tennessee title without having the truck inspected by Tennessee
          authorities.

          RICO Predicate Act Nine - Mail Fraud and Possession of Motor
          Vehicle Bearing Altered Identification Numbers With Intent to
          Sell or Dispose

          Felicia Stewart purchased a new 2006 Nissan Altima, dark blue in
          color, in May 2006 at East Tennessee Nissan in Morristown,
          Tennessee; the purchase was financed by a loan from Lowland Credit
          Union, who secured a lien on the vehicle for the loan. While the car
          was registered and titled in Felicia Stewart’s name, the named
          insured on the policy with State Farm Mutual Automobile Insurance
          Company (“State Farm”) was “Terrence L. Stewart,” Stewart's then
          17 year old son.

                  Records of Lowland Credit Union reflect that at the time of
          the purported theft in July 2008, Felicia Stewart owed LCU over
          $50,000 on two auto loans and was making monthly payments
          totaling $1,377. Stewart reported her gross monthly income as only
          $2,000.

                On July 14, 2008, Felicia Stewart reported to the Sevierville,
          Tennessee Police Department that her 2006 Nissan Altima had been
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          stolen from a restaurant parking lot in Sevierville. Stewart claimed
          that the car had been stolen while she and her mother were in a
          restaurant. In fact, Stewart had arranged with Raymond Hawk to take
          the car so that Stewart could falsely report it as stolen. Stewart and
          Hawk had spoken by cellular telephone before Stewart entered the
          restaurant to advise Hawk where the car could be found.

                 On August 11, 2008, Felicia Stewart completed an “Affidavit
          of Vehicle Theft” which was faxed from a State Farm agent’s office
          in Dandridge, Tennessee to the State Farm office in Murfreesboro,
          Tennessee later that day.

                  On August 15, 2008, the State Farm office in Murfreesboro,
          Tennessee issued a check in the amount of $20,545.32 payable to
          Lowland Credit Union in settlement of the claim. The check was
          mailed by US mail to Lowland Credit Union in Newport, Tennessee
          for them to release the lien and mail the title back to the
          Murfreesboro office. The original title was received back by US mail
          at State Farm on August 26, 2008.

                  Further investigation revealed that Ray Hawk, Grant
          Williams, and others performed a “salvage switch” on the
          purportedly stolen 2006 Nissan Altima, replacing the public vehicle
          identification number (VIN) on the 2006 Altima with the VIN plate
          from a salvage 2005 Nissan Altima. The vehicle appearing to be the
          2005 Nissan Altima was seized pursuant to judicial authorization on
          March 25, 2009 from persons who had received the vehicle from
          Grant Williams. The vehicle was determined to be a "salvage switch"
          using the public VIN of the salvage vehicle but was identified
          through confidential VINs as the 2006 Nissan Altima reported stolen
          by Stewart in July 2008. Additionally, an air bag seized from A
          Automotive, Ray Hawk’s auto salvage business in Newport,
          Tennessee, pursuant to a federal search warrant on March 23, 2009
          was subsequently identified as having been an airbag installed in
          Felicia Stewart’s 2006 Nissan Altima.

          RICO Predicate Act Eleven - Mail Fraud

                  On Sunday, October 5, 2008, Brian Askew reported to
          Knoxville Police Department’s Teleserve desk that his 2001 GMC
          Yukon had been stolen from a parking lot at Knoxville Center Mall
          earlier that afternoon. Askew told a KPD officer that he entered the
          mall and when he came out about an hour later his truck was gone.
          Askew reported there was no broken glass in the parking space.

                 Askew reported the theft to his insurance company,
          Tennessee Farmers Mutual Insurance Company (“TFMIC”), the
          following day. At the time of the theft, the vehicle had a lien from
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          AmSouth Bank (now Regions Bank) for a purchase money loan. The
          vehicle was titled in the names of both Brian D. Askew and his wife,
          and Askew owed more on the loan than the truck than the truck was
          worth.

                  On December 4, 2008, TFMIC issued a check in the amount
          of $11,908.25 made payable to Brian D. Askew and Regions Bank in
          settlement of the claim and mailed the check by United States mail to
          Regions Bank in Birmingham, Alabama. The reverse of the check
          reflects it was negotiated by Regions Bank.

                 In fact, Askew and Grant Williams had devised a plan in late
          August 2008 to dispose of Askew’s vehicle and falsely report it as
          stolen after Askew’s wife had purchased a new 2008 Chevrolet
          Suburban. Williams took possession of Askew’s Yukon in September
          2008 and disassembled it for parts. Askew then falsely reported the
          vehicle as stolen on October 5, 2008.

          RICO Predicate Act Twelve - Possession of Motor Vehicle Parts
          Bearing Altered Identification Numbers With Intent to Sell or
          Dispose

                  On February 4, 2009, FBI special agents, along with THP-
          CID special agents and other state and local law enforcement
          officers, executed a federal search warrant at the residence of Grant
          Williams at 363 New Cave Church Road, Newport, Tennessee. The
          warrant authorized the agents and officers to search for evidence of
          drug violations. During the execution of that search warrant and
          while looking at motor vehicle titles and registrations to identify
          evidence of proceeds of drug sales, agents observed a motor vehicle
          registration for a Chevrolet Tahoe. Agents observed that the mileage
          reported on the registration document was 73,701 miles. However,
          when observing the Chevrolet Tahoe that was there at the residence,
          agents observed that the odometer reflected mileage of 60,830 miles.
          The vehicle appeared to be a 2004 Chevrolet Tahoe. Agents also
          observed a red pickup truck that appeared to be a 2005 Chevrolet
          truck, SC1 version. The driver’s side door sticker which bears the
          public VIN had been removed. Agents also observed the partial front
          clips from motor vehicles in the woods beside the house along with
          two motor vehicle transmissions where the identification numbers
          had been broken off the bell housings.

                 FBI agents subsequently obtained a second search warrant for
          motor vehicle theft related evidence and seized the 2004 Chevrolet
          Tahoe and the 2005 Chevrolet truck. The Chevrolet truck was
          subsequently identified as a 2007 Chevrolet Silverado truck stolen
          from the parking lot of Sears at Knoxville Center Mall. The salvage
          2005 Chevrolet truck whose public VIN and title was used for the
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          salvage switch had been sold to Grant Williams by South Laurel
          Auto Sales, London, Kentucky on September 15, 2007 for $2,500.

          RICO Predicate Act Thirteen - Possession of Motor Vehicle Parts
          Bearing Altered Identification Numbers With Intent to Sell or
          Dispose

                  On September 13, 2008, Grant Williams and others stole a
          2005 Chevrolet Tahoe from the vicinity of West Town Mall,
          Knoxville, Tennessee. Grant Williams had acquired a salvage 2004
          Chevrolet Tahoe from a South Shore, Kentucky auto salvage dealer
          in late August 2008. Grant Williams then enlisted the assistance of
          others to accomplish the “salvage switch” of the VINs on the salvage
          Tahoe to the stolen Tahoe. FBI and THP-CID agents seized the
          “salvage switch” vehicle on February 4, 2009 and subsequently
          identified the vehicle as being the vehicle stolen from Knoxville in
          September 2008.

          RICO Predicate Act Fourteen; Count                23   -   Interstate
          Transportation of Stolen Motor Vehicle

                 On March 7, 2009, Grant Williams, accompanied by Timothy
          Chrisman, traveled from Newport, Tennessee to Knoxville,
          Tennessee to steal a late model General Motors truck or sport utility
          vehicle to deliver to an individual in southwest Virginia. Between
          5:00 and 6:00 p.m. that day, Williams and Chrisman stole a black
          2003 GMC Yukon from the parking lot of a J.C. Penney store at
          Turkey Creek in west Knoxville, Tennessee. Chrisman then drove the
          stolen truck, with Williams following in a separate vehicle, from
          Knoxville to Newport, Tennessee and then to Weber City, Virginia.
          In a transaction surveilled by an FBI special agent, Williams
          delivered the stolen SUV to a third person at an Exxon station in
          Weber City.

                 The parties agree that the amount of loss, for purposes of
          application of U.S.S.G. § 2B1.1(b)(1), made applicable by U.S.S.G. §
          2E1.1(a)(2), resulting from the above conduct during the period of
          Williams’ involvement was more than $1,000,000 but not more than
          $2,500,000.

          RICO Predicate Act Fifteen - Conspiracy to Distribute Cocaine

                  From at least 2002 and continuing through at least February
          2009, both dates being approximate and inclusive, in the Eastern
          District of Tennessee, Grant Williams knowingly and intentionally
          conspired with James Sisk, Raymond Hawk, Nicole Hawk, Kalep
          Haney, Jose Cabrera, Roger Miller, Gerald Jones, Calvin Ivey,
          Margie Barnes, Kimberly Atkins, and others to distribute and possess

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              with the intent to distribute five hundred grams or more of a mixture
              and substance containing a detectable amount of cocaine, a Schedule
              II narcotic controlled substance.

                      In furtherance of the conspiracy, Williams obtained quantities
              of cocaine from Raymond Hawk and later from Jose Cabrera, Kalep
              Haney, and others. Grant Williams would then distribute cocaine
              himself as well as supplying Miller, Jones, Ivey, Barnes and others
              with cocaine which they were distributing. Sisk would obtain
              quantities of cocaine from Jose Cabrera which Sisk would then
              deliver to Grant Williams for distribution. On January 27, 2009, Sisk
              drove from A Automotive to meet with Cabrera at the Wal-mart
              parking lot in Newport where Cabrera delivered a quantity of cocaine
              to Sisk. Sisk paid Cabrera for the cocaine and subsequently delivered
              the cocaine to Grant Williams.

                     The parties agree, for the purposes of the application of
              U.S.S.G. § 2D1.1(a)(5), made applicable by U.S.S.G. § 2E1.1(a)(2),
              Williams was involved in the distribution of at least five hundred
              grams but not more than 2 kilograms of cocaine.

              RICO Predicate Act Sixteen - Conspiracy to Distribute
              Marijuana

                      In addition to trafficking in cocaine, Grant Williams was
              being supplied quantities of marijuana by Joshua Burgin and others
              which Grant Williams was distributing to and redistributed by Ray
              Hawk, James Sisk, Eric Williams, Nicole Hawk, Kalep Haney, and
              others.

[Doc. 3, Plea Agreement at 2-11].

        IV.   Analysis and Discussion

        In his motion, petitioner asserts five claims of ineffective assistance of counsel. In his

 supplement, as the Court understands his allegations, he alleges at least a dozen more, although

 he incorporates throughout the second pleading iterations of the ineffective assistance claims

 offered in the first. Among counsel’s alleged shortcomings are his failures to investigate the loss

 amount, to provide petitioner with discovery, to explain the waiver of appellate rights, to consult

 with him, to explain the charges, to negotiate with the Assistant U.S. Attorney, to visit him more,

 to meet to discuss sentencing issues prior to sentencing, to advise the Court of petitioner’s

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 mother’s ill health, to advise petitioner concerning the restitution amount, and to argue

 petitioner’s indigence as a factor to consider in setting the restitution amount. Further, counsel is

 charged with having petitioner sign a plea agreement containing an incorrect loss amount. The

 supplement also includes contentions that the Court made several errors and that the prosecutor

 committed acts of misconduct—all of which center on the incorrect loss amount involved in

 Williams’s chop-shop guidelines sentencing calculations.

         The United States argues, in its response, that Williams’s claims are unreviewable due his

procedural default or waiver of those claims.           More specifically, the government maintains

petitioner failed to raise certain claims on direct appeal, which constitutes a procedural default of

those claims. As to claims of ineffective assistance which typically are brought in a collateral

review proceeding, respondent relies on the plea agreement provision containing an explicit

waiver of petitioner’s right to file any pleading under § 2255, except for claims of ineffective

assistance of counsel (or prosecutorial misconduct) unknown to him by the time his judgment was

entered.   None of the ineffective assistance claims here presented fit within that exception,

according to the government. In the alternative, the United States suggests that the claims lack

merit.

         A. Direct Appeal Waiver and Procedural Default

         As set forth in paragraph 16(a) in the plea agreement, [Doc. 342 at 17], Williams waived

his right to file a direct appeal of his conviction, except as to claims that his sentence exceeded his

guidelines sentence range or the mandatory minimum sentence. It is well recognized that a party

may waive a provision intended for his benefit in a contract or statute. Shutte v. Thompson, 82

U.S. 151, 21 L.Ed. 123, 15 Wall. 151 (1872). Even fundamental constitutional rights may be

waived by an accused, so long as the waiver is knowingly and voluntarily made. Ricketts v.

Adamson, 483 U.S. 1, 10 (1987) (double jeopardy defense); Boykin v. Alabama, 395 U.S. 238, 243

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(1969) (same, rights to jury trial and confrontation and privilege against self-incrimination);

Johnson v. Zerbst, 304 U.S. 458, 465 (1938) (right to counsel); United States v. McGilvery, 403

F.3d 361, 363 (6th Cir. 2005) (right to appeal); Watson v. United States, 165 F.3d 486, 489 (6th

Cir. 1999) (right to collateral attack. Therefore, so long as Williams understood the terms of the

plea agreement and so long as the waiver was made voluntarily and knowingly, the waiver is valid

and enforceable. A review of the transcript of the plea proceedings indicates that petitioner

understood the direct-appeal waiver provision and that his waiver was made voluntarily.

       During those proceedings, the Court first questioned petitioner as to whether his attorney

had explained all the terms and conditions of the plea agreement and whether he understood all

those terms and conditions, [Doc. 848, Chg. of Plea Hr’g Tr. at 6]. Petitioner gave positive

answers to those questions, [Id.]. After the waiver provision was summarized by the prosecutor,

the Court explained that, with certain exceptions, the provision waived petitioner’s right to file a

direct appeal, [Id. at 13-14, 17].   The Court next asked Williams whether he understood that

provision; whether he had read “very carefully” paragraph 16 in the plea agreement; whether he

had reviewed the terms in paragraph 16 with counsel; and whether counsel and he had “fully

discussed” the direct-appeal waiver in the plea agreement, [Id. at 13-14]. Again, all petitioner’s

answers to these questions were positive.

       The Court then found that, based on its observations of Williams’s appearance and

responsiveness to the inquiries, he was in full possession of his faculties, not under the influence of

any narcotics, drugs, or alcohol, was knowingly waiving his constitutional rights, and was pleading

guilty knowingly and voluntarily, [Id. at 17-19].       Petitioner did not then and does not now

challenge those findings.     Therefore, because the waiver of Williams’s direct appeal right in

paragraph 16(a) of the plea agreement is valid and enforceable and because none of the above

claims fall within the exception to the waiver, the Sixth Circuit would have enforced the waiver and

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would have dismissed any direct appeal in which he pressed the aforementioned claims as grounds

for relief.

        Among petitioner’s claims are allegations that, in connection with his sentencing

guidelines calculation determining the amount of loss resulting from the chop-shop conspiracy,

the Court erred in applying two additional levels for a loss of $1,000,000 to $2,500,000, whereas

the actual loss was $919,435.34, as was stated in his PSR as the amount of his restitution. Had the

Court used the latter figure as the loss amount, his sentence would have been increased only 14

levels, rather than the 16-level increase attached to a loss amount of $1 million to $2.5 million.

Lowering his sentence by two levels would have resulted in a total offense level of 23 and a

guidelines sentence of 70-87 months imprisonment, as Williams suggests should have occurred.

        Other sentencing claims offered in the supplement concern an “unwarranted sentencing

disparity” and the imposition of a longer sentence for petitioner than the sentences imposed on co-

defendants Curtis Reed and James Sisk. (Reed and Sisk received respective prison sentences of

36-months and 66-months, [Docs. 704, 742].) In a related allegation, Williams asserts that the

government’s attorney engaged in deceptive plea negotiations by permitting other defendants to

plead guilty to lower loss amounts than the loss amounts involved in his guilty plea. Another

contention is that his guilty plea was unlawfully induced or involuntary because he knew nothing

about the adjustment for his leadership role in the chop-shop offense.

        Respondent relies on the doctrine of procedural default as a bar to federal review of the

above-described claims. The procedural default doctrine holds that a claim not presented on

appeal when it could have been presented may not be reviewed in a § 2255 motion, absent a

showing of cause and actual prejudice to excuse a failure to raise the claim previously. Bousley v.

United States, 523 U.S. 614, 619 (1998); Elzy v. United States, 205 F.3d 882, 884 (6th Cir. 2000).

        The plea agreement, as noted earlier, contained a waiver provision with respect to

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Williams’s right to file a direct appeal. That provision limited claims which could be raised on

appeal to those involving “a sentence imposed above the sentencing guideline range or any

applicable mandatory minimum sentence (whichever is greater),” [Doc. 342 at ¶ 16(a)]. Because

claims concerning disparities between petitioner’s and his co-defendants’ sentences did not fit

within the excepted claims, presenting these claims on direct appeal would not have resulted in a

merits review, but instead on the enforcement of the waiver provision in the plea agreement, so

long as the waiver was knowing and voluntary. United States v. Fleming, 239 F.3d 761, 764 (6th

Cir.2001) (observing that the “sine qua non of a valid waiver is that the defendant enter into the

agreement knowingly and voluntarily”). The same holds true of the other purportedly defaulted

claims.

          The government argues that Williams’s failure to appeal, regardless of the reason for the

failure, means his claims are procedurally defaulted, unless he can show both good cause for not

raising the claims earlier and would suffer actual prejudice if the claims are not reviewed now.

See Elzy v. United States, 205 F.3d 882, 884 (6th Cir. 2000). It is undisputed that Williams has not

attempted to show either.            Although some of Williams’s claims appear to be procedurally

defaulted4 it is not necessary for the Court to decide the issue since the Court finds, as set out

below, that the claims fall within the scope of the § 2255 waiver in Williams’s plea agreement.

          B. § 2255 Waiver

          The plea agreement likewise contained a waiver of Williams’s statutory right to file a

motion to vacate, under 28 U.S.C. § 2255, except for claims of ineffective assistance of counsel or

prosecutorial misconduct not known to him by the time of the entry of judgment, [Doc. 342,
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   Williams does not address his reason for not filing a direct appeal except to say that he did not appeal because he
“was unaware of the severity of ineffective assistance of counsel” or that he “had a right to appeal.” Regardless of
whether the direct appeal waiver played any part in the decision of Williams not to file a direct appeal, the result is the
same—he did not seek to raise his claims on direct appeal. While the Sixth Circuit might have refused to review the
claims because of the waiver, we will never know because Williams did not file a notice of appeal. Of course, in the
Sixth Circuit, claims of ineffective assistance of counsel are generally not raised on direct appeal.

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¶16(b)]. During the change-of- plea proceedings, the Court similarly explained to petitioner the §

2255 waiver provision in the plea agreement and made the same inquiries of petitioner concerning

petitioner’s understanding of the § 2255 waiver as were made in connection with the direct appeal

waiver. Likewise, Williams gave the same positive responses to those inquiries, indicating that in

each instance he understood the § 2255 waiver provision in the plea agreement. There is nothing

to indicate otherwise in the record or in anything alleged by petitioner. It is well settled that a

waiver of § 2255 claims is enforceable. Davila v. United States, 258 F.3d 448, 450 (6th Cir.

2001). The Court finds that the waiver of Williams’s right to file a § 2255 motion, as set forth in

paragraph 16(b) of the plea agreement, was made knowingly and voluntarily and that, hence, it is

valid and enforceable. This next logical step is to determine whether the ineffective assistance

claims fall within the scope of the § 2255 waiver.

       The government maintains that the remaining claims fall squarely within the waiver

provision, in that petitioner does not premise his claims on any allegation of ineffective assistance

of counsel or prosecutorial misconduct not known to him at the time of the entry of his judgment.

Petitioner does not argue that his ineffective assistance claims fall outside the scope of the waiver.

See United States v. Sharp, 442 F.3d 946, 951 (6th Cir. 2006) (noting that an “appellate-waiver

provision [is] enforceable where ‘there [was] nothing in the record to suggest that ... the defendant

misunderstood the scope of his waiver of appellate rights’-essentially requiring the defendant to

affirmatively establish his misunderstanding”) (quoting McGilvery, 403 F.3d at 363).

       After reviewing those claims, the Court agrees that Williams would have known of the

actions or inactions now claimed as instances of ineffective assistance before the judgment

entered in this case. Accordingly, since petitioner’s ineffective assistance claims are not covered

by any of the grounds for § 2255 relief reserved by him in the plea agreement, he has waived his

right to bring these claims in this collateral review proceeding.

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        V.     Conclusion

        For the reasons set forth above, Williams’ valid waiver of his right to file a motion to

 vacate, raising the instant claims, forecloses § 2255 relief, and, thus, his § 2255 motion will be

 DENIED WITH PREJUDICE and this case will be DISMISSED.


       The Court must now consider whether to issue a certificate of appealability (COA) should

petitioner file a notice of appeal. Under 28 U.S.C. § 2253(a) and (c), a petitioner may appeal a final

order in a § 2255 case only if he is issued a COA, and a COA will be issued only where the

applicant has made a substantial showing of the denial of a constitutional right. See 28 U.S.C. §

2253(c)(2). A petitioner, whose claims have been rejected on the merits, satisfies the requirements

of § 2253(c) by showing that jurists of reason would find the assessment of the claims debatable or

wrong. Slack v. McDaniel, 529 U.S. 473, 484 (2000). A petitioner whose claims have been rejected

on a procedural basis, as is the case here, must demonstrate that reasonable jurists would debate the

correctness of the Court’s procedural ruling. Id.; Porterfield v. Bell, 258 F.3d 484, 485-86 (6th Cir.

2001). The District Court must “engage in a reasoned assessment of each claim” to determine

whether a certificate is warranted. Murphy v. Ohio, 263 F. 3d 466, 467 (6th Cir. 2001).

       The Court has individually assessed petitioner’s claims under the relevant standards and

finds that those claims do not deserve to proceed further because they have no viability in light of

the governing law. Thus, jurists of reason would not conclude the disposition of those claims was

debatable or wrong. Because petitioner has failed to make a substantial showing of the denial of a

constitutional right, a COA will not issue.

       A separate judgment order will follow.

                ENTER:


                                                            s/J. RONNIE GREER
                                                      UNITED STATES DISTRICT JUDGE

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